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                              UNiTED STATES         COURT
                                 DISTRICT OF NEW JERSEY

      AUDREY BERNSTEIN,
                                                     CaseNo.: 2;17-cv-12137
                                  .PlatntIfi

                    vs.

      NEXTDECADE CORPORATION,

                                  Defendant.



                             NOTICE OP VOLUNTARY DISMISSAL

                   Plaintiff AudreyBemstáln voluntarily disml$so this action with preJudke.pursuant
     to Fed. R. Civ. P. 41(a(flA(i).


     Dated: Fcbvuary, 2018




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